1    Scott W. Hyder (AZ Bar No. 017282)
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     Phoenix, Arizona 85028
3
     Phone: (602) 923-7370
4    Fax: (602) 795-6010
     E-mail: shyder@scotthyderlaw.com
5    Attorney for Debtor Susan Simpson
6
7                              UNITED STATES BANKRUPTCY COURT
8                                      DISTRICT OF ARIZONA
9
10   In re:                                       CHAPTER 13
11   SUSAN SIMPSON,
                                                  Case No. 2:20-bk-02088-EPB
12                    Debtor
                                                  NOTICE OF HEARING ON DEBTOR’S
13                                                OBJECTION TO NEW HORIZONS’
14                                                PROOF OF CLAIM NO. 5, AS AMENDED
                                                  [DE ## 52, 60, 85]
15
16                                                Date: Tuesday, July 13, 2021
                                                  Time: 10:00 a.m.
17                                                Via Telephonically: (877) 810-9415.
                                                  Access Code: 1064631
18
19            NOTICE IS HEREBY GIVEN that on May 11, 2020, Creditor New Horizons 401(k)
20   Profit Sharing Plan FBO Brad A. Gilbertson, Trustee, filed Proof of Claim No. 5, which it
21   amended on September 14, 2020 as Proof of Claim No. 5-2. On July 1, 2020, Debtor Susan
22   Simpson filed an Objection to Claim 5 [DE #52] (the “Objection”). On July 21, 2020, New
23   Horizons filed a Response to the Objection [DE #60], and on September 9, 2020, Ms. Simpson
24   filed a reply in support of the Objection [DE #85].
25            NOTICE IS FURTHER GIVEN THAT a hearing on the Objection is set to be heard on
26   Tuesday, July 13, 2021 at 10:00 a.m. by the Honorable Eddward P. Ballinger, Jr., United States
27


Case 2:20-bk-02088-EPB      Doc 181 Filed 07/06/21 Entered 07/06/21 14:37:57         Desc
                             Main Document    Page 1 of 2
1    Bankruptcy Judge, at the United States Bankruptcy Court located at 230 North First Avenue,
2    Courtroom No. 703, Phoenix, Arizona 85003.
3           NOTICE IS FURTHER GIVEN THAT the aforementioned hearing will be held
4    telephonically. Any interested party is to appear via telephone by calling (877) 810-9415. The
5    access code is 1064631.
6           RESPECTFULLY SUBMITTED this 6th day of July, 2021.
7                                               LAW OFFICE OF SCOTT W. HYDER, PLC
8
9
                                                By: /s/ Scott W. Hyder, AZ Bar No. 017282
10
                                                       Scott W. Hyder
11                                                     Attorney for Debtor
12
                                      CERTIFICATE OF SERVICE
13
14   I hereby certify that the foregoing was filed with the Clerk of the Court this 6th day of July, 2021
     via ECF and that a copy of the foregoing was served via receipt of the Notice of Electronic Filing
15   pursuant to Local Rule 9076-1 and via electronic mail, addressed to the following party:
16
      Dean W. O’Connor                                Ross Mumme
17    Dean W. O’Connor, PLLC                          Counsel Chapter 13 Trustee Edward J. Maney
      2942 N. 24th Street, Ste. 114-336               101 North First Avenue, Ste. 1775
18    Phoenix, AZ 85016                               Phoenix, Arizona 85003
19    Sent via email only:                            Sent via email only:
      Dean@dean-oconnor.com                           rmumme@maney13trustee.com
20
      Elizabeth C. Amorosi
21
      Office of the United States Trustee
22    230 North First Avenue, Ste. 204
      Phoenix, Arizona 85003-1706
23    Sent via email only:
24    Elizabeth.C.Amorosi@usdoj.gov

25
     /s/ Scott W. Hyder
26
27


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Case 2:20-bk-02088-EPB       Doc 181 Filed 07/06/21 Entered 07/06/21 14:37:57             Desc
                              Main Document    Page 2 of 2
